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UNITED STATES DISTRICT COURT | u 7 0 5 2009
NORTHERN DISTRICT OF NEW YORK at O'CLOCK |
Xx Lowrence K. Baerman, Clerk - Syracuse
aoe DEMANDED
PATRICK PROCTOR,
Plaintiff,
-against- CIVIL RIGHTS COMPLAINT

Pursuant to 42 U.S.C. §1983

LUCIEN J. LeCLAIRE, Jr., Deputy
Commissioner, Department of

 

Correctional Services, Civil Case No.: G : OY Q2:/] WY
Defendant. 6 LS } fo THO
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PRELIMINARY STATEMENT

This is a civil action filed by PATRICK PROCTOR, a state prisoner, for damages
(compensatory and punitive), injunctive relief and declaratory judgement under 42 U.S.C. §1983,
alleging violations of his due process of Law, and discriminatory policy or practice, which
violates the Fourteenth Amendment of the United States Constitution, which resulted in the loss
of liberty and caused atypical and significant hardship.

JURISDICTION
1.) This Court has jurisdiction over plaintiffs claims of violations of federal
Constitutional Rights under 28 U.S.C. §§1331 and 1343 (A) (3), (4). Plaintiff seek’s declaratory
relief pursuant to 28 U.S.C. §§2201, 2202. Plaintiff's claims for injunctive relief are authorized
by 28 U.S.C. 552283, 2284 and Rule 65 of The Federal Rules of Civil Procedure.
VENUE
2.) The United States District Court for the Northern District of New York, is an

appropriate venue under 28 U.S.C. §1391 (b) (2) because it is where the events given rise to this

 
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claim occurred.
PLAINTIFF

3.) Plaintiff, PATRICK PROCTOR, is a New York State prisoner who is incarcerated
within the New York State Department of Correctional Services (“DOCS”) at the Clinton
Correctional Facility (“CCF”), in Dannemora New York, and all events described in this
complaint happened at the CCF and Great Meadow Correctional Facility (“GMCF”), which both
facilities fall within the venue of the Northern District.

DEFENDANT.

4.) Defendant, LUCIEN J. LeCLAIRE, JR., is the Deputy Commissioner of the State of
New York DOCS. In that capacity, he was given the responsibility by the Commissioner,
pursuant to 7 NY.CRR. §301.4 et seq, for making the final determination to maintain plaintiff
in Administrative Segregation (“Ad Seg”) using ‘Periodic Reviews’ that are in compliance with
the due process of Law. The <1 tec acated Iibealy waterest 7S pactected by Due process clavse.

5.) Defendant LeCLAIRE is sued in his individual capacity, as well as his official
capacity. The Defendant has acted and continues to act under Color of State Law at all times
relevant to this complaint.

PRIOR COURT PROCEEDINGS

6.) This is the first Federal Court proceeding that plaintiff has submitted in which he is

directly challenging the deprivations caused by Defendant LeCLAIRE maintaining him in Ad

Seg using sham, perfunctory ‘PERIODIC REVIEWS’ that are not meaningful. Plaintiff

previously submitted a 42 U.S.C. §1983 (PROCTOR V. KELLY, et al., 9:05 - CV - 0692

 

N.D.N.Y. (GTS) (GJD) ) and attempted to allege a ‘Periodic Review’ claim before this Court,

but in Judge Suddaby’s Memorandum Decision and Order filed December 16, 2008 (Id at pgs
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14-16), he ruled the reviews were not properly before the Court, since plaintiff never mentioned
the words ‘ Periodic Reviews’ in his Amended Complaint. So he is not Collaterally Estopped
from bringing this claim.

7.) Two other previous court proceedings that will be mentioned herein, are PROCTOR
v. COOMBE, 233 A.D. 2d 648 [3d Dept. 1996]; PROCTOR v. GOORD, 801 N.Y.S. 2d 517

[Sup. CT. 2005].

FACTS

 

8.) On December 8, 2003, while housed within the GMCF, plaintiff completed his term
of nine years and one month of confinement in the special housing unit (“SHU”). That
confinement was imposed for various disciplinary infractions, including, but not limited to
escape, weapon, assault, fighting, etc.

9.) Plaintiff was never released from SHU on December 8, 2003, instead, on December
9, 2003, he was served with an Ad Seg recommendation that was dated 12-8-03, and authorized
by a Deputy Inspector General George Seyfert. In that recommendation was listed approximately
14 specific allegations of previously completed misconduct, as well as general references to

allegations of inappropriate conduct ranging over a 20 year period.

10.) On December 24, 2003, plaintiff was officially placed in Ad Seg status by a Captain

Charles F. Kelly Jr., whom was plaintiff's hearing officer.

11.) Plaintiff did submit a §1983 (See ‘PRIOR COURT PROCEEDINGS’ Herein) to
challenge various procedural violations as well as conditions of confinement violations. Upon
information and belief, plaintiff lost that suit because of lack of Legal training. He cross-moved
for Summary Judgement instead of just opposing defendants motion. Because he cross-moved,

he had to prove every aspect of his case (Including Defendants State of Mind) on paper.
 

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Something impossible to do without testimony. He also lost that suit, partially because he did not
properly identify the ‘Periodic Reviews’ within his Amended Complaint, not affording
defendants notice. Thus Judge Suddaby ruled the reviews were never before the court.

12.) Upon information and belief, plaintiff has a continuing Due Process right to
‘Periodic Reviews’ of his confinement so that Ad Seg is not used for indefinite confinement. See
Hewitt v. Helm’s, 459 U.S. 460, 477 n.9 (1983). These reviews are to be held pursuant to 7
N.Y.C.R.R. §301.4 (d), (1), (3), (4) (e) and those ‘Periodic Reviews’ must be meaningful. See
DOE v. SIMON, 221 F.3d 137, 139 (2d Cir. 2000); Tellier v. Fields, 280 F.3d 69, 77-83 (2™ Cir.
2001).

13.) Ina periodic review for 4-1-05, §A has Captain Kelly as the Committee Chairman.
The same Captain Kelly mentioned in {10 where he was plaintiffs hearing officer at the original

Ad Seg placement hearing. §C has defendant LeCLAIRE’s signature ordering continued Ad Seg
placement. ThiS ff alse applies To the €-7-05 avd B-S-OS Reviews,

14) SA of the 2-23°04 and 4-9-OF Reviews , calls few “information on
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+5 <a} To have haesesed four Y)momths PrioR To the 12-a'-03 Ad

Seq original placenest decjsio. Avs the Reviews ake 4 Shan. '
15.) Ina letter dated 8-28-05, plaintiff wrote then GMCF Superintendent Gary Greene a
“letter for consideration/ Admin Seg 60 day review” and asked him to forward the letter to the
Periodic Review Committee. This letter complained about many things, but specifically
- addressed concern’s that information that was previously expunged off his record, was being
considered to maintain him in Ad Seg, as well as, Captain Kelly being the Ad Seg periodic

review committee chairman, when he was also the hearing officer at the placement hearing.

16.) Ina periodic review for 10-5-05, §A reads in relevant part: “Proctor has submitted a
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letter dated 8-30-05 for the Central Office Committee to review.” Then Captain Kelly signed as
the Committee Chairman. As pointed out in 15, plaintiff's letter is dated 8-28-05, not 8-30-05.
17.) In §B page two 4 of the 10-5-05 periodic review, it reads in relevant part: “The

committee considered a letter from inmate Proctor dated -28-05". As pointed out in 16,

plaintiff's letter is dated 8-28-05, not 9-28-05 or 8-30-05.

18.) In §B page two 95 of the 10-5-05 review, the committee makes comment to the use
of expunged information brought to their attention in the 8-28-05 letter. Saying in relevant part :
“As we have repeatedly stated, unless administratively or judicially set aside, the committee has
a right to rely on the findings made during the inmates Ad Seg hearing.” §C then has defendant
LeClaire’s signature ordering continued Ad Seg placement.

19.) Upon information and belief, this statement in 718, is proof defendant LeClaire was
repeatedly placed on notice of the previously expunged information. What’s shocking about the
{18 statement, is the expunged information was already judicially set aside in 1996, Prior to the
original Ad Seg placement hearing (See Proctor v. Coombe, 233 A.D. 2d 648 [3d Dept. 1996]),
and again after it was used for almost two years to maintain plaintiff in Ad Seg (See Proctor v.
Goord, 801 N.Y.S. 2d 517 [Sup. CT. 2005]). NOTE: The Proctor v. Goord, Supra decision was
made the month prior to the review statement mentioned in 418. Also note: The Proctor v.
Goord, Supra ’decision ordered plaintiffs records expunged, yet as shown in {63-66 herein, the
allegedly expunged information is still on plaintiffs records in 2009.

20.) Upon information and belief, the controlling law here is Giano v. Kelly, 869 F.

Supp. 143, 148-152 (W.D.N.Y. 1994); Childs v. Pellegrin, 822 F. 2d 1382, 1388-89 (6" Cir.

1988) (“Keeping a prisoner in Ad Seg based on misconduct charge of which he has been cleared,

denied due process”); Howard v. Coughlin, 212 A.D.2d 852 [1995], Iv. denied 85 N.Y. 2d 812
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[1995].

21.) In periodic reviews for 12-5-05, 2-8-06, 4-4-06 and 6-1-06, §A has Captain Kelly as
the Committee Chairman when he was the hearing officer. §A also has the quoted remark “has
to much time to do to be recaptured”, on all the reviews Captain Kelly was chairman for. This
statement is fabricated and was strongly disputed to Captain Kelly at the original placement
hearing. It’s said that statement derived from an un-signed ‘Interdepartmental Communication’
that does not even meet the ‘some reliable evidence’ standard of the Second Circuit. §C on all
mentioned reviews have defendant LeCLAIRE authorizing continued confinement, despite the
blatant evidence the reviews are denying due process.

22.) Captain Kelly was the Committee Chairman for eight different reviews, spanning a
14 month time period (See {13-21 herein). Upon information and belief; “It has been held, that
prison officer who invokes the disciplinary process, should not sit on the committee reviewing
the matter.” Miller v. Twomey, 479 F.2d 701, 716 (7" Cir. 1973); Merritt v. Delos Santos, 721
F.2d 598, 600-01 (7" Cir. 1983); Finney v. Arkansas Bd. of Corr., 505 F. 2d 194, 208 (8" Cir.
1974).

23.) Upon information and belief, the periodic reviews that have been maintaining
plaintiff in Ad Seg from the very first review (i.e. 2-23-04, until present), have been meaningless
and performed merely as a formality and are a pretext by defendant LeClaire to indefinitely
confine him to Ad Seg. Plaintiff believes the fact’s presented in this entire complaint, show
specific and related instances of discrimination are being permitted by defendant LeClaire, to
continue unremedied for so long as to amount to a discriminatory policy or practice and plaintiff
believes the “continuing violation” doctrine, applies in this case, and he is “entitled to have a

court consider all relevant actions taken pursuant to defendants discriminatory policy or practice,
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including those that would otherwise be time barred.” Jackson v, New York State, 381 F. Supp.
2d 80, 87-88 (N.D.N.Y. 2005) (Quoting 2™ Circuit cases).

24.) As pointed out in J§18-20, there is evidence that Court ordered expunged
information, was not expunged from plaintiffs records, and was in fact continued to be relied
upon to maintain him in Ad Seg, even after he continuously placed defendant on notice the
information was expunged. There is evidence defendant LeClaire “actively misled” plaintiff into
believing this “previously ordered expunged” information, was not in his records, when it
certainly was, See §§63-66 herein. Upon information and belief, defendant LeClaire engaged in
fraudulent concealment of fact’s that would alert plaintiff to the existence of a cause of action
and is not entitled to benefit from the ignorance he perpetuated on plaintiff, and he should be
“equitably estopped” (Doctrine of “equitable tolling”) from raising a statute of limitations
defense. See Bodner v. Banque Paribas, 114 F. Supp. 2d 117, 135 &.D.N.Y. 2000) (Quoting 2"
Circuit cases).

25.) Upon information and belief, an inadvertent denial of a periodic review does not
give rise to a Constitutional claim in its own right. So plaintiff has to rely on the “continuing
violation” doctrine to show fact’s and circumstances, over a period of time, how his reviews are
perfunctory and meaningless, by pointing out “specific and related instances of discrimination
are permitted by defendant to continue unremedied for so long as to amount to a discriminatory
policy or practice.” Cornwell v. Robinson, 23 F. 3d 694, 704 (2d Cir. 1994). If for some reason
this court does not recognize plaintiff's [believed] right to allege facts going back further than
three years from date this complaint is received by this court, then the fact’s that do fall within
the three year limit on these on-going due process violations, start now;

26.) Ina periodic review for 10-10-06, §A of the review says in relevant part: “subject
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has stated that he ‘has too much time to do to be recaptured’.” This allegation derived from an
un-signed ‘Interdepartmental Communication’ allegedly from a Sergeant Robert P. Sweeney,
dated March 20, 1990. This un-signed communication is fabricated, yet it is being relied upon as
justification to maintain Ad Seg placement.

27.) Also in §A § two it says in relevant part: “Proctor has minimal incidents [Since] his
placement into Ad Seg at this facility. However, these reports consist of incidents involving
harassment, threats, unhygienic acts, lewd conduct and contraband.” This is record evidence that
plaintiff continued to remain in Ad Seg as a result of a [new] reason that arose after the date on
which he was originally placed in Ad Seg, and he never received notice of these [New] reasons
until after they were already used to deny him Liberty. He was also not afforded notice to
respond at a hearing.

28.) Inthe same review, §B page two {2 says in relevant part: “Proctor is currently
serving a sentence for murder.” Plaintiff never received notice and a right to be heard ina
meaningful time and meaningful manner prior to this [changed] reason (i.e. Murder) being used
to deny him Liberty. There was no ‘Murder’ as an original reason why plaintiff was being placed
in Ad Seg. Plaintiff was not afforded notice of the [changed] reason until after it was used to
deny him liberty, when this [changed] reason existed prior to the original placement hearing, and
he never received a hearing on this [changed] reason which is being used to maintain him in Ad

Seg. §C has defendant LeClarie’s signature.

29.) Ina periodic review for 12-11-06, both sections described in [{ 26-27 herein, also

apply to this review, since they mirror each other.

30.) In the 12-11-06 review at §B, first pages says in relevant part: “His current term of

36 years to life is for the crimes of murder, robbery, burglary, possession of a weapon and
 

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escape.” It should be noted, the robbery and possession of a weapon are [changed] reasons why
plaintiff is being maintained in Ad Seg. These [changed] reasons were added since the previous
review (428). All of these reasons (i.e. murder, robbery, possession of weapon) are [changed]
reasons from the original Ad Seg placement hearing of December 2003, and all these crimes

were in existence prior to that hearing and defendant had a full and fair opportunity to give notice
and a tight to be heard at the placement hearing, prior to the [changed] reasons being relied upon
to deny liberty, but chose not to. Upon information and belief, that denies due process.

31.) Ina periodic review for 2-2-07, both sections described in (26-27, also apply to
this review, since they mirror each other. §B on the first page contain’s the same information
complained about in {{28, 30. It should be noted §C defendant LeClaire signed.

32.) Ina periodic review for 4-11-07, both sections described in ff] 26-27, also apply to
this review, since they mirror each other. §B, second page, containes the fabricated information
described previously in 926, as well as additional fabricated information. This review also
contain’s information (e.g. “Set fire to cell”) that plaintiff was found innocent of in October
1995, at a due process hearing, at Auburn Correctional Facility, by Captain Rourke. That did not

stop defendant LeClaire from relying upon it to deny plaintiff due process. See §C for defendant

LeClaire’s signature.

33.) On 4-30-07, plaintiff wrote Superintendent Darwin LaClair, at GMCF. That letter
was in reference to “Ad Seg 60 day review letter to be forwarded to Central Office sham Review
Committee.” The 4-30-07 letter contained objections to the 4-11-07 periodic review.

34.) Inareview for 6-7-07, both sections described in {{] 26-27 herein, also apply to this

review, since they mirror each other.

35.) Inthe 6-7-07 review at §B, page one and two, the review also contains fabricated
 

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allegations. §B page two §3 the review makes note of plaintiff's 4-30-07 letter. §C has
defendant LeClaire’s signature continuing Ad Seg placement.

36.) While at GMCF, plaintiff wrote a Grievance dated 7-27-07, which was given
Grievance number 43, 455-07. This Grievance was about his periodic reviews not being
meaningful and being used as a pretext for indefinitely confining him to SHU, all the while
considering false information (it’s detailed) as well as crimes never considered at the original
placement hearing. (See 30 herein).

37.) On 8-8-07, Grievance 43, 455-07, was dismissed pursuant to directive #4040
§701.5 (B) (4) (C) (2). On 8-13-07, plaintiff appealed that decision to the GMCF Superintendent.
On 8-17-07, he received a letter from Head Clerk George Schnackenberg, notifying him that
when a Grievance is dismissed, he may not appeal it to the Superintendent. The clerk wrote in
relevant part: “By filing this Grievance and having it dismissed, you have exhausted your
Admin. Remedies.” (See Exhausted Grievance, Exhibit A Attached hereto).

38.) Inareview for 8-6-07, §A contains the same information mentioned in 26, as well

as additional opinions not previously mentioned.

39.) In the 8-6-07 review at §B first page, the review mentions the same basic
information previously mentioned in 430, but now the review has morphed itself into mentioning

how many counts of crimes its said plaintiff committed Upon infoRnation aud belief, 99.28, 30,37.
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40.) Ina review for 10-8-07, §A mirror’s the same information contained in the 8-6-07

 
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review at §A. §B at page two contains fabricated allegations (e.g. “Proctor removed his
handcuff’s” and Proctor is reported to have said, that he “wanted to be more famous” if escaped
he “would be one bad dude”, and that he had “too much time to do to be recaptured.”) defendant
LeClaire signed §C.

41.) Ina letter dated 9-25-07, plaintiff wrote Commissioner Brian Fischer a letter in
regards to his Ad Seg status and questioning the need for continued SHU placement with no
privileges. The Comditions in) Ad Seq are inadbleg vate /crvel aud Torment.

42.) Ina letter dated October 29, 2007, defendant LeClaire wrote plaintiff stating
Commissioner Fischer asked him to respond in regards to plaintiff's Ad Seg status. Defendant
LeClaire wrote in part: “All pertinent information, including your letter, will be included as part
of the review process during the next meeting of the Ad Seg review committee.”

43.) Inareview for 12-4-07, §A contains the same basic information complained about
in 26. §B contains the same [changed] reasons that were not an initial reason for placing
plaintiff in Ad Seg, as discussed in 30, 39 herein. When plaintiff submits letters and
objections, the committee usually gives the superficial resemblance that the reviews are
meaningful by briefly addressing them. Yet the letter dated 9-25-07 (See § 41) was not
considered or included at the Review Committee as defendant LeClaire’s letter of October 29,
2007 (See $42) said it would be. Upon information and belief, that’s proof defendant LeClaire
never included that letter, as he was obligated to do, denying plaintiff his right to be heard, and
suggesting sham, perfunctory and meaningless reviews. It’s believed the controlling Law here is
Giano v. Selsky, 2002 WL 31002803, at *7 (N.D.N.Y. Sept. 5, 2002) (Kahn, J).

44.) Ina letter dated February 29, 2008, Commissioner Brian Fischer wrote plaintiff

stating in relevant part: “This is in response to your letter of September 25, 2007" and “Your
 

 

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disciplinary record, and your attempt to escape, do not suggest that placement in general
population is appropriate, your claims to the contrary not withstanding”.

45.) Defendant LeClaire allegedly referred plaintiff's letter to the next Ad Seg review
committee (See $42). The review committee makes no remark (as they usually do) that any such
letter was included or considered (See $43). The review committee member’s are all subordinates
of defendant LeClaire and Commissioner Fischer. Defendant LaClaire is a subordinate to
Commissioner Fischer, and Commissioner Fischer has stated plaintiff's “placement in general
population is not appropriate” (See 744).

46.) Upon information and belief, at the very least, the above information contained in
all paragraphs, but more specifically {J 41-45, indicate that any reviews subsequent to February
29, 2008, when Commissioner Fischer wrote that letter, were a sham, not meaningful,
perfunctory and being used by defendant LeClaire as a pretext to indefinitely confine plaintiff
with deliberate indifference to his liberty. Defendant LeClaire is only following his boss’s wishes
at that point, as is the review committee. This is evidence of, at the very least, “System-wide”
decision making.

47.) The Boss has indicated he wants a prisoner maintained in Ad Seg, yet that Boss
designated a subordinate to the final stage of the review process which determines whether that
prisoner stays in Ad Seg. Upon information and belief, that is an inherent conflict of interest and
proof, at that very least, the reviews are merely a formality and are meaningless. Upon
information and belief, the controlling Law that cover’s that scenario is McClary v. Coughlin, 87
F. Supp2d 205, 208-213 n-7 (W.D.N.Y. 2000).

48.) Inareview for 2-6-08, §A contains the same information in most reviews and

mirror’s §A of the 12-4-07 review. §B of this review also mirror’s previous complained about
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information. Defendant LeClaire signed §C, continuing to maintain Ad Seg placement.
49.) On 3-4-08, plaintiff wrote a letter to GMCF Superintendent David Rock, with a
“Ad Seg ‘60 day review’ letter.” This letter was to be considered at the next periodic review

committee and was to be taken as objection to the review of 2-6-09.
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53.) Inareview for 10-7-08, §§A-B contain the basic same information previously
complained about in 4126-28, 30, 39. In addition, at §B on page two second paragraph, this
review mentions two times that plaintiff has “Assaults (Plural) on staff.” The review claims these
assaults (again ‘Plural’) derived from “Unusual Incidents/Tier II and Tier III incidents.” A
review of plaintiff's disciplinary history will show that statement is a lie and fabricated, that he
only has one such assault that derived from one Tier II. That did not stop defendant LeClaire
from relying upon §§A-B of this review as an excuse to continue to maintain plaintiff in Ad Seg.
See §C for his signature.

54.) On 12-3-08, plaintiff wrote a letter to CCF Deputy Superintendent of Security S.
Racette, with a letter titled “My Admin. Seg. 60 Day Periodic Review.” This letter was to be
considered at the next review.

55.) Inareview for 12-9-08, §§A-B contain the same basic information in J]26, 28, 30

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and retaliate against him for escaping on election Jay Callegedly mabing hin

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56.) On 10-28-08, plaintiff wrote a letter to Governor David Paterson in reference to:
“Request for a pardon of my past iniquities and release from an arbitrary sentence of Ad Seg and
any other relief you deem just and proper.” This letter goes into detail how the Ad Seg review
committee is considering information they should not be, and using it to continuously maintain
him in Ad Seg.

57.) Inareview for 2-9-09, §A basically contains that same information complained
about in 926. §B first page contains the same information complained about in §30. §B on page
two acknowledges receipt of the letter described in 56, as well as the letter described in 54. So
they are on ‘Notice’ again. Defendant LeClaire’s signature appear’s in §C.

58.) On 3-11-09, plaintiff wrote a letter to CCF Deputy Superintendent of Security S.
Racette, with a letter titled; “ Ad Seg ‘60 Day Periodic Review.” This letter was to be considered
at his next review, and contained objections to the review in 57. (It should be noted, all these

reviews have three different sections ({{JA-C)). So the date 2-12-09, as referred to within the 3-

11-09 letter, is in reference to §B of the 2-9-09 review.

59.) Inareview of 4-9-09, §§A-B contain the same basic information complained about

in 7926, 28, 30. §B page Two acknowledged receipt of the 58 described letter. Defendant

LeClaire’s signature appears in §C.

60.) On 5-20-09, plaintiff wrote a Grievance at CCF in regards to his Ad Seg reviews

 
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not being meaningful, which was given Grievance number C1-59069-09, and is stamped as filed
June 1, 2009. On June 2, 2009, the Grievance was denied, on 6-3-09, plaintiff appealed the
Grievance to the Superintendent. On 6-15-09 the appeal was denied by first Deputy
Superintendent T. LaValley. On 6-17-09, plaintiff wrote an appeal statement to be forwarded to
Central Office Review Committee (““CORC”). On 7-29-09, CORC denied all relief requested.
(See Exhausted Grievance, Exhibit B Attached hereto).

61.) Ina review of 6-9-09, §A has the same information complained about in (26. §B
page Two also has the same information complained about in 430. Defendant LeClaire signed
§C, thus approving continued confinement in Ad Seg.

62.) On 6-29-09, plaintiff wrote a letter to Deputy Superintendent S. Racette, with a
letter titled “Ad Seg ‘60 Day Periodic Review.” This letter was in response to the review of 61,
and addresses objections of how these reviews are a sham.

63.) On 7-29-09, plaintiff had a Grievance filed at CCF, which was given Grievance
number C1-59286-09. It states: “on 7-8-09, I sent Ms. D. Jarvis, IRC, F.O.1,L. Officer, a
disbursement for $2.00 to cover the cost of my disciplinary history and my Ad Seg
recommendation of 12-8-03. Today 7-23-09, I received these item’s legal mail (I signed for
them). On the last page on the Ad Seg recommendation, second paragraph, it says: “On 6-6-95
during a search of Proctors SHU cell 250, a sharpened nail clipper was found in the electric plate
cover.” This exact same information was ordered expunged off my records by a judge (See
Proctor v. Goord, 801 N.Y.S. 2d 517 “Sup. CT. 2005"). This same-expunged information has
been being relied upon to maintain me in Ad Seg during sham meaningless reviews.” Plaintiff
herein, then requested that the statement be expunged from the Ad Seg recommendation and all

parole and institutional records, and never again used to maintain him in Ad Seg.
Case 9:09-cv-01114-BKS-DEP Document1 Filed 10/05/09 Page 16 of 37

64.) On 7-30-09, plaintiff received a response to the above described Grievance which
states: “Grievant is advised D. Jarvis was contacted and states nothing was received from
Grievant. Grievant is advised to write to D. Jarvis and provide proof of the Judges order’s that
expunge such request off Grievant’s record.” ' Since plaintiff actually quoted the case law within
the Grievance that proves the Judge ordered the information expunged, plaintiff believes the
response to his grievance is ironic and disingenuous and clear proof the previously ordered
expunged information, was not expunged and is still in all his records and has been continuously
relied upon by defendant LeClaire, to maintain plaintiff in Ad Seg with deliberate indifference to
his right to receive meaningful periodic reviews.

65.) Plaintiff received the response to his appeal to Grievance CL - 59286-09, which is
from the first Deputy Superintendent and dated 8-5-09. It says: “Inmate records complied with
grievant's F.O.LL. request. Grievant has not contacted Inmate Records with regard to his request
of expunging information from his records, nor has inmate records received a Court order
directing same. Inmate Records has checked the grievant’s legal file and I did not find any order
regarding the grievant’s claim. If the grievant has a copy of the order in his possession, I suggest

that he forward it to the appropriate security/guidance personnel so they may update his records,

if applicable.”
66.) Plaintiff then wrote an appeal statement, dated 8-7-09, to C.O.R.C., which states:

“In my grievance I gave the case cite where the Judge ordered my records expunged. I will send

the CT. decision as proof of order. The Att. Gen. and DOCS were supposed to expunge my

 

1 It’s assumed, the first sentence (of the two quoted sentences) means nothing was
received by D. Jarvis, indicating the Judge expunged plaintiff's record. It can not mean D. Jarvis
never received the F.O.LL or $2.00 disbursement, because plaintiff has the stamped
disbursement and he signed for the F.O.L.L documents.
Case 9:09-cv-01114-BKS-DEP Document1 Filed 10/05/09 Page 17 of 37

records in 2005. Im appealing to exhaust Admin. Remedies, and show, at least until now, my
records were not expunged.” (See Grievance, Exhibit-C attached hereto).

67.) Upon information and belief, plaintiff continues to remain in Ad Seg as a result of
[New] reasons that arose after the date which he was originally placed in Ad Seg, as well as
[changed] reason’s that were available prior to the original placement hearing, but not relied
upon until after the hearing that placed him there. Defendant had a full and fair opportunity to
give plaintiff notice and an opportunity to be heard in a meaningful time and manner, on these
[changed] reason’s, at the original placement hearing, yet chose not to.

68.) Upon information and belief, plaintiff was not afforded notice of these [new] and
[changed] reasons, and afforded an opportunity to respond, except in a periodic review, after they
were already relied upon to deny him Liberty (for months each time), and his right to be heard in
a meaningful time and manner, has already been violated. It’s believed this denies due process.

69.) Upon information and belief, plaintiff's prison sentence will be extended by his
confinement in Ad Seg, because in order to receive a favorable parole decision, plaintiff is
required to take various therapeutic programs which he can not participate in, because these
required programs are not available to plaintiff, an Ad Seg prisoner, whom is housed in S.H.U.

EXHAUSTION OF LEGAL REMEDIES

70.) Plaintiff PATRICK PROCTOR, used the Grievance procedure available at GMCF

(See J (36-37) and CCF (See 60, herein) to try to resolve the problems mentioned herein.

Plaintiff has exhausted all his administrative remedies.

LEGAL CLAIMS

71.) Plaintiff re-alleges and incorporates by reference paragraphs 1-70, for the purpose

of the following causes of action;

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72.) The actions of defendant LUCIEN J. LeCLAIRE, where he failed to provide
meaningful periodic reviews of plaintiff PATRICK PROCTOR’s Administrative Segregation
status and maintains him in the Special Housing Unit using sham, perfunctory and meaningless
Periodic Reviews in order to indefinitely confine him (The due process violations are on-going
from 2-23-04, to present) to administrative segregation, which caused atypical and significant
hardship and constituted deliberate indifference to plaintiff's liberty and violated his due process
of Law in violation of the Fourteenth Amendment. U.S.C.A. Const. Amend. 14.

73.) The actions of defendant LUCIEN J. LeCLAIRE, where he is maintaining plaintiff
PATRICK PROCTOR in Administrative Segregation using on-going meaningless sham Periodic
Reviews (from 2-23-04, to present) as a pretext to indefinity confine him to loss of Liberty in
violation of due process, show’s specific and related instances of discrimination are being
permitted to continue unremedied for so long as to amount to a discriminatory policy or practice
which is protected by the Fourteenth Amendment. U.S.C.A. Const. Amend. 14.

74.) The plaintiff has no plain, adequate or complete remedy at Law to redress the
wrongs described herein. Plaintiff has been and will continue to be irreparably injured by the

conduct of the defendant unless this court grants the declaratory and injunctive relief which

plaintiff seek’s.

PRAYER FOR RELIEF

WHEREFORE, plaintiff respectfully prays that this court enter judgement granting

plaintiff:

I. A declaration that the act’s and omission’s described herein violated plaintiff's right’s

under the Constitution and Laws of the United States.

II. A permanent injunction ordering defendant LUCIEN J. LeCLAIRE JR., and his
ea TET naar TT:
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agents to:

A) Release plaintiff PATRICK PROCTOR from Administrative Segregation and
immediately place him in general population with the full restoration of all
entitled right’s and privilge’s;

B) Expunge all references of all the allegations mentioned in the Administrative
Segregation Recommendation from plaintiff's institutional, departmental, and
parole records;

C) "Prohibit defendant LUCIEN J. LeCLAIRE JR., and all other present and future
employees of the Department of Corrections from using any of the allegations
mentioned in the Administrative Segregation Recommendation against plaintiff
for any purpose at any time in the future;

D) Prohibit defendant LUCIEN J. LeCLAIRE JR., and all other present and future
employees for the Department of Corrections from housing Administrative
Segregation prisoner’s under conditions with no privilges, in the same special
housing unit that houses disciplinary segregated prisoners;

E) Immediately place plaintiff in an area where he can obtain a television and food
commissary item’s, as well as where he can obtain the program’s required by the
parole board;

III. | Compensatory damages against defendant LUCIEN J. LeCLAIRE JR., in the
amount of two Hundred and Fifty Dollar’s ($250.00) per day for each day spent in

Administrative Segregation;

IV. Punitive damages against defendant LUCIEN J. LeCLAIRE JR., to be determined

after trial;
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VI.

VII.

Vu.

IX,

A Jury Trail on all issues triable by Jury;

Award plaintiff cost’s and disbursements in this action;

Award plaintiff reasonable attorney fee’s;

Plaintiff brings this action as a pro se litigant, warranting the Court to construe the
complaint liberally, such that the strongest possible argument is raised Soto v.
Walker, 44 F. 3d 169, 173 (2d Cir. 1995); Gomez v. USAA Fed. Sav. Bank, 171
F, 3d 794, 795 (2™ Cir. 1999) (Per Curiam) (“Certainly the Court should not
dismiss without granting leave to amend at least once where a liberal reading of
the [pro se] complaint gives any indication that a valid claim might be stated”);
Wynder v. McMahon, 360 F. 3d 73, 79 (2d Cir. 2004) (“Technical pleading
irregularities may be excused as long as they neither undermine the purpose of
notice pleading nor prejudice the adverse party”);

Any additional relief this Court deems just, proper, and equitable.

Dated: Dannemora, New York

September 20% 2009

PATRICK PROCTOR, Pro Se
#89-A-9763
Clinton Correctional Facility
P.O. Box 2001

Dannemora, New York 12929
 

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VERIFICATION
I have read the forgoing complaint and hereby verify that the matter’s alleged therein are
true, except as to matter’s alleged on information and belief, and as to those, I believe

them to be true. Pursuant to 28 U.S.C. §1746, I certify under penalty of perjury that the

foregoing is true and correct.

Executed at Dannemora, New York, onSe Alenber om 2009.

Pile Pred

PATRICK PROCTOR, Pro Se
Case 9:09-cv-01114-BKS-DEP Document1 Filed 10/05/09 Page 22 of 37

EXHIBIT A
 

 

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FORM 21916 (Rev. 5188) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONAL SERVICES
INMATE GRIEVANCE COMPLAINT

 

Grievance No.

GRIEVANT'S eae Y3,455°0)

 

 

 

 

 

 

 

(Breit Meakou CORRECTIONAL FACILITY
Date. 7-27-07
Name: Data’ lc De 6 eR. Dept. No.:_ §9:A-9'76 3 Housing Unit: F/-C3
| Program: A d 244 AM PM

(Please Print or Type - This form must be filed within 14 days of Grievance Incident)

Description of Problem (Please make as brief as possible): LA in Aduiw. Seq. av Im supapced
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Signature: Prbcies Prefer 29:89'763 7229-09 Pe Nea
Grievance Clerk Date:
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This Grievance has been informally resolved as follows:

 

 

 

 

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant

Signature: . Date:

 

if unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC)
 

 

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Case 9:09-cv-01114-BKS-DEP Documenti1 Filed 10/05/09 Page 24-of 37_— —

GNEVvEneS No.

 

 

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Due to the nature of the issues presented this grievance must be
Dismissed Pursuant to Directive -# 404025 701.5 (B)(4)(c)(2), in that Administrative
Segregation proceedings have their own appeal mechanism.

 

 

 

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Chairperson Momal) o.. GQoea Gh fae
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Case 9:09-cv-01114-BKS-DEP Document1 Filed 10/05/09 Page 26 of 37

TO: MR. PATRICK PROCTOR

FROM: IGRC

AUGUST 17, 2007

RE: DISMISSAL OF GRIEVANCE / EXHAUSTION OF REMEDIES:

GRIEVANCE #43,455-07 WAS DISMISSED, AND THEREFORE, YOU MAY NOT APPEAL
IT TO THE SUPERINTENDENT, UNLESS THE IGP SUPERVISOR DEEMS THE DIMISSAL
WAS UNWARRANTED. THE IGP SUPERVISOR HAS DECIDED TO UPHOLDTHE DISMISSAL.

BY FILING THIS GRIEVANCE, AND HAVING IT DISMISSED, YOU HAVE EXHAUSTED
YOUR ADMINISTRATIVE REMEDIES.

IF YOU HAVE ANY FURTHER QUESTIONS, PLEASE FEEL FREE TO ASK, AND I WILL
DO MY BEST TO ANSWER THEM.

SINCERELY,

x_ Zi go

GEORGE ED’ SCHNACKENBERG
IGRC HEAD CLERK

 
 

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EXHIBIT B
 

 

Case 9:09-cv: -DEP Document 1 Filed 10/05/09 Cen) oi37 oe
| : state OER WomEocra MENT OF CORRECTIONAL ee EN are
FORM 21216 (REV. 6/06) INMATE GRIEVANCE COMPLAINT Qe

 

 

 

 

 

 

 

JUN 0 I 2009 . Grievance No. .
INMATE GRIEVANCE CLSAOGA-~04
C Ih Ow CORRECTIONAL FACILITY
. Date 5-20-09

 

Name Dey Ri ck Proctor Dept.No. 0 Fy 1263 Housing Unit SHU - _SHY-39___-
| Program Aduin S £4 AMA } Aas, / hay YS aweelPo

(Please Print or Type - This form must be filed within 21 calendar days of Grievance Incident)*
Description of Problem: (Please make as brief as possible) J-,, ja, Admini steativ e Segkeqa hon Z
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Action requested by inmate: C ' ef ON) ol | Rivile.
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: Cc tI i iN) 00 CSe e

This Grievance has been informally resolved as follows:

 

 

 

 

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

cc © Grievant
F;/e Signature Date:

 

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).

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Page 2 of 3
 

 

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Dept. Comn, LeClaire fas been Rubber Stamping these Shae Reviews
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P+ Purdie 874-9703 5-20-09

Action Requested) L Request Te be placed Ia general pepolation with :
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hearing Recommendation . + Reguest 7200.00 per day for ea ch, day

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Sincerely

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» Chairperson:

~ Case 9:09-cv-01114-BKS-DEP Pog to led. 10/05/09 HIS 3383 Sq

LGR C "Response:

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* was conducted Gone arning his admintstrative Seayregation status. At that
hearing it was datermtnad that ‘the placemant is appropriate. Adainistrative
Seyreyation status is reviewed partodically hy Nepartmant Officlals to

determine the need for continued piacamant.

   

 

 

 

 

 

 

 

 

Return within 7 days and check appropriate boxes. :

va disagree with IGRC response and wish to . - Ihave reviewed deadlocked responses.
appeal to the © Superintendent. a CJ ~ Pass-Thru to Superintendent.
agree with the IGRC response and wish to clita ey apply to the IGP Supervisor for

 

LI _ appeal to the Superintendent. - review of dismissal.

pe - - -. Grievant's Signature: £ Pr Pie Date:{~S-OF -O 7

 

 

Grievance Clerk's Bal
Receipt: 2 OE Ee oe “Date:

To be completed by Grievance Clerk

 

Grievance Appealed to the Superi ntendent:
Date

Grievance forwarded to the Superintendent for action:
Date

* An exception to the time limit may be requested under Directive #4040, section 701 .6(g).

LGR.C./2b
 

 

Las Fea

‘S222 Re. 3Ease 9:09-cv-01114-BKS-DEP Document1 Filed 10/05/09 Page 32 of 37

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° CL-53068-09

 

     

 
  

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Title of (STiSvanoS
INADEQUATE ADMIN SEG REVIE w 9A

 

 

 

 

 

 

 

 

 

 

 

PROCTOR P

 

The grievant alleges that he is not receiving proper reviews for. Administrative
Segregation.

Investigation has revealed that the.grievants status is reviewed every sixty days in
accordance with Directive #4933, 301.4, (d). In addition that status review is forwarded to
central office to be reviewed and a final determination to retain or release the grievant
from Administrative Segregation is made by the Deputy Commissioner.

The grievant may submit a written statement to the superintendent concerning

information related to his Administrative Segregation status. This statement will be
forwarded to the central office review committee for review. The Inmate Grievance
Program is not the appropriate mechanism to utilize to receive monetary awards.

 

APPEAL STATEMENT

your Inmate Grievance clerk.

If you wish to refer the above decision of the Superintendent, please sign below and return this copy to
are appealing this decision to

You have seven (7) calendar days from receipt of this notice to file your appeal.* Please state why you

the C.O.R.C.
The Reviews ake o bear / vat meainatul Lposfunctoty in nature. They have bee Gousi-

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Grievant's Signature Date

 

 

 

 

 

 

 

 

Grievance Clerk’s Signature Date

*An exception to the time limit may be requested under Directive #4040, section 701.6(g)
 

 

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Grievance Number Desig. /Code Date Filed

STATE OF NEW YORK CL- 59069-09 D/24 ‘6/1/09

DEPARTMENT OF — Facility
Clinton Correctional. Facility

 

 

 

 

“CORRECTIONAL SERVICES

 

Title of Grievance

Inadequate Admin Seg Review

INMATE GRIEVANCE PROGRAM Drecors Signaine Pf 7 - Date
CENTRAL OFFICE REVIEW COMMITTEE Lea lat AR. 7/29/09
Ke / LA

 

 

 

 

 

7/29/09
GRIEVANT'S REQUEST UNANIMOUSLY DENIED

- Upon full hearing of the facts and circumstances in the instant case, and upon recommendation of Department's Counsel,
the action requested herein is hereby denied. CORC upholds the determination of the Superintendent for the reasons

stated.

Contrary to-the grievant's assertions, CORC has not been presented with sufficient evidence to substantiate any
malfeasance by staff. CORC notes that any irregularities or concerns regarding an Administrative Segregation review

may be submitted prior to his next scheduled review.

Additionally, the grievant may write to the Superintendent or his designee to make a statement regarding the need for
continued administrative segregation. The reasons stated in this notice, any written statement that you submit, as well as
the grievant’s overall custodial adjustment will be considered during the next scheduled review, in accordance with

Directive #4933, Section 301.4.

CORC has determined that an. existing mechanism, with a well defined appeal procedure, responds to challenges to the

accuracy of information, and is set forth in NYCRR, Title 7, Sections 5.50.- 5.52. Accordingly, the grievant may direct
"his request for expunction to the custodian of the records at the facility, if dissatisfied with the determination, the

grievant may appeal the results of that coordinator’ 's decision to the Inspector General.

CORC asserts that monetary damages are not an available remedy through the inmate grievance mechanism. CORC
notes that Directive #4040, Section 701.1, states, in part, that the grievance program is not intended to support an

adversary process.

Jal

 

be

 
 

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EXHIBIT C
 

. -Deseri tion of Problem: (Please make as brief as] ossible

 

‘ee — cower: tha’c coat. obay ‘re ST Tyt

record by a Judge (See Proctor V, Goord, 801 3 ori cr, 200 sae ot Thi

 

 

"3 Case 9:09-cv-01114-BKS-DEP Document1 Filed: 10/05/09 Page 35 of 37
be WD Code (42) —
. STATE OF NEW V YORK — DEPARTMENT OF CORRECTIONAL SERVICES
a an yA Soe CLINTON CORRECTIONAL FACILITY _ bs | _Grievance No...
a | . . wa ~ GLn59286~09
INMATE GRIEVANCE COMPLAINT
| 24 Date. 7/29/09 4
Name P- Proctor woes a pe No. eee ae Housing Unit SHU-86

 

+ lease Print or Type — This form n must tbe filed within 21 cale ar ar days of Grievance Incident)* |

   

today 7/23/09, I recelyad: these it 5 teas
page of the Ad Seg.
search of proctor's SHU cell | "250, a eerpe :
electric plate cover", This ‘exact *eame “infor

game expunged information has been being relied m0 to” maintain ma in Ad ‘Sea
Be during sham meaningless Bevis ae ag

 

_. Grievant Signature fs He: Hearing Date:

| Grievance Clerk (ef haseeee” Sennen ee
~ Advisor Requested? ss [] Yes i o: No Who: oe
Action re uested by inmate: ar

 

     

*“ag all my patole and institutional ree “the Judge “has ‘already ordéred.
want notitication ‘that this has been done, and 1 want a written statement by.

 

_ Superintendent D. Artus, that the quoted words, will not be used against me ever in - :

ie future in any way, but especially as an excuse to maintain me in Ad Seg.

This Grievance has been informally resolved as follows:

 

 

 

This informal resolution is accepted:

~ (To be completed only ifresolved prior to hearing)

_ *Anexception to the time limit may be requested under Directive #4040, section 701 (8).

Grievant Signature Date:

 

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (GRC).
LGR.C/2a

  
 
  
  
 
   
   
 

I vat the above quoted wre; expunged from the Ad Seg Recommendation of 28M ae
a Case 9:09- -CV- -01114- BKS-DEP Docuimenyt : Filed 10/05/09... Page 36 of 37.
- ck. CODE 42. CL-59286-09

LG Response: anes es cols . oa

 
     

 

° Gaevait i is advised D, ‘Jarvis was contacted and : states nothing W was s received from the grievant, Grievant is is”
“advised to write to D.Jarvis and provide proof of the judges ¢ orders that expunge such request off | See es,
- grievant’ 's record, oS HENRI

  
 
  
 

 

 

 

 

 

 

 

gs a disagree with IGRC response and wish to Y ee Bae “Thave reviewed deadlocked 1 responses.
Pe appeal to the ne Superintendent. Ss Lee Ee -Pass- Thru to Superintendent ce

 

  
  

Ogee a qT agree , with the IGRC response ‘nd wish t to eS] apply to ‘the IGP Superior for &
7 CL] ae appeal to the Superintendent ee LJ. : Teview of dismissal.

ray

    

"Grievance Clerk's is MR es :
“Receipts, UU ag os ‘Date:

 

fs To be completed by Grievance Clerk |

 

é : : Grievance Appealed to the Superintendent: eee Fla,
oo oe ee ~ Date

Grievance forwarded to the Superintendent for action:
Pt : " Date

*An exception to the time limit may be requested under Directive #4040, section 701.6(g).

~LGR.C/2b
 

 

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" Form 2133 (Rev. 6/06)
Grievance No. : Date Filed
ae oat YORK | CL — 59286 -- eh 7/29/09

 

CORRECTIONAL SERVICES | Facility Policy Designation

CLINTON CORRECTIONAL FACILITY

 

 

 

 

 

 

 

INMATE GRIEVANCE PROGRAM |—
Title of Grievance Class Code
DALE A. ARTUS Expunge Info from Record
SUPERINTENDENT ee i Date |
1 Fat Wl Aas s Ig OF
Grievant: Din# * () Housing Unt *
PROCTOR, P. 89A9763 SHL-YUG

 

Inmate Records complied with grievant’s FOIL request. Grievant has not contacted Inmate Records with regard
to his request of expunging information from his records, nor has Inmate Records received a Court Order

directing same.

Inmate Records has checked the grievant’s legal file and I did not find any order regarding the grievant’s claim.
Ifthe grievant has a copy of the order in his possession, I suggest that he forward it to the appropriate
security/guidance personnel so they may update his records, if applicable.

 

APPEAL STATEMENT

If you wish to refer the above decision of the Superintendent, please sign below and return this copy to your Inmate Grievance clerk.

You have seven (7) calendar days from receipt of this notice to file your appeal.* Please state why you are appealing this decision to
the C.O.R.C. En my gRievanice TL gay i a Re ec.
exp vged -T will! sewd the Ch dec iam os prot of Orbea The Att Gens, and Docs

MON.

       
  

   

eS an Show , at least wystil Now, My RECORES Were pot expunged,

Pies, P veckion , 8-77-09

Grievant’s Signature Date

 

 
